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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                 )
                                         )          CRIMINAL ACTION NO.
        v.                               )            2:17cr100-MHT
                                         )                 (WO)
RICHIE DALE MURPHY                       )

                  PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, the United States of America gave notice

to    defendant         Richie    Dale   Murphy      in   the     superseding

indictment        (doc.     no.    48)       that    it   would    seek    the

forfeiture of all property used or intended to be used

in any manner or part to commit and to facilitate the

commission of the offenses in violation of 21 U.S.C. §

841 and 18 U.S.C. § 924(c)(1)(A)(i); and,

       WHEREAS, defendant consents to the forfeiture of

specific property;

       It is hereby ORDERED that the government’s motion

for a preliminary order of forfeiture (doc. no. 109) is

granted as follows:

       (1) As a result of the guilty plea on Counts 1, 2

and     4    of   the    superseding         indictment,    the     defendant
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shall     forfeit     to    the     United   States,     pursuant       to    21

U.S.C. § 853, all property constituting or derived from

proceeds defendant obtained directly or indirectly as a

result of the said violation and any and all property

used or intended to be used in any manner or part to

commit and to facilitate the commission of the offenses

in violation of 21 U.S.C. § 841 and, pursuant to 18

U.S.C. § 924(d)(1) by 28 U.S.C. § 2461(c), any firearms

and     ammunition       involved      in    the    commission       of      the

offenses in violation of 18 U.S.C. § 924(c)(1)(A)(i);

       (2) The     court     has    determined      that    the   following

property is subject to forfeiture pursuant to 21 U.S.C.

§ 853 and 18 U.S.C. § 924(d)(1) by 28 U.S.C. § 2461(c);

that the defendant has an interest in such property;

and,      that    the      United     States      has    established         the

requisite        nexus      between        such    property       and     such

offenses:

             (a) Glock,       model     GMBH,      .40     caliber      pistol

bearing serial number EKH300US;


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           (b) Taurus,       model       PT92,   9mm     pistol,    bearing

serial number TNB44341D; and,

           (c) $22,526.00           in       U.S.      currency         seized

December     3,    2016     during       a   search      of     Defendant’s

Murphy’s residence.

     (3) Upon the entry of this order, the United States

Attorney      General        is     authorized           to     seize      the

above-listed property and conduct any discovery proper

in identifying, locating or disposing of the property

subject to forfeiture, in accordance with Federal Rule

of Criminal Procedure 32.2(b)(3).

     (4) Upon entry of this order, the United States

Attorney     General        is     authorized       to        commence     any

applicable proceeding to comply with statutes governing

third-party       rights,    including        giving     notice    of     this

order.

     (5) The United States shall publish notice of the

order and its intent to dispose of the property in such

a   manner   as    the    United    States       Attorney      General     may

direct.      The United States may also, to the extent
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practicable, provide written notice to any person known

to have an alleged interest in the subject property.

    (6) Any      person,       other     than      the    above-named

defendant, asserting a legal interest in the subject

property    may,     within     thirty      days     of    the    final

publication of notice or receipt of notice, whichever

is earlier, petition the court for a hearing without a

jury to adjudicate the validity of his alleged interest

in the subject property, and for an amendment of the

order of forfeiture, pursuant to 28 U.S.C. § 2461(c)

which incorporates 21 U.S.C. § 853(n)(6).

    (7) Any petition filed by a third party asserting

an interest in the subject property shall be signed by

the petitioner under penalty of perjury and shall set

forth the nature and extent of the petitioner’s right,

title, or interest in the subject property, the time

and circumstances of the petitioner’s acquisition of

the right, title or interest in the subject property,

and any additional facts supporting the petitioner’s

claim and the relief sought.
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    (8) After the disposition of any motion filed under

Federal Rule of Criminal Procedure 32.2(c)(1)(A) and

before   a   hearing       on    the   petition,        discovery     may   be

conducted in accordance with the Federal Rules of Civil

Procedure    upon      a    showing          that   such        discovery   is

necessary or desirable to resolve factual issues.

    (9) The United States shall have clear title to the

subject property following the court’s disposition of

all third-party interests, or, if no such petitions are

filed, following the expiration of the period provided

in 21 U.S.C. § 853(n)(2), which is incorporated by 28

U.S.C.   §    2461(c),          for    the     filing      of     third-party

petitions.

    (10) The court shall retain jurisdiction to enforce

this order and to amend it as necessary pursuant to

Federal Rule of Criminal Procedure 32.2(e).

    (11) It is further ORDERED that the clerk of the

court shall note entry of this order in writing on the

Judgment in a Criminal Case and forward a certified


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copy    of   this   order   to   the   United    States    Attorney’s

Office.

       DONE, this the 16th day of October, 2017.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
